56 F.3d 61NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.
    Richard Lee Crews, Plaintiff--Appellant,v.Unknown WOODSON, Captain;  Lou Dixon, Defendants--Appellees.
    No. 95-6355.
    United States Court of Appeals, Fourth Circuit.
    Submitted April 20, 1995.Decided May 31, 1995.
    
      Richard Lee Crews, Appellant Pro Se.
      Before WIDENER, WILKINSON, and WILKINS, Circuit Judges.  Richard Lee Crews, Appellant Pro Se.
      PER CURIAM:
    
    
      1
      Appellant appeals the district court's order dismissing his 42 U.S.C. Sec. 1983 (1988) complaint.  The district court assessed a filing fee in accordance with Evans v. Croom, 650 F.2d 521 (4th Cir.1981), cert. denied, 454 U.S. 1153 (1982), and dismissed the case without prejudice when Appellant failed to comply with the fee order.  Finding no abuse of discretion, we affirm the district court's order.  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    